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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                     §
                                             §
VS.                                          § CRIMINAL ACTION NO. 2:12-CR-00955-9
                                             §
RUDY SANTIAGO; aka SAINT                     §

                       FINDINGS AND RECOMMENDATION
                             ON PLEA OF GUILTY

       United States District Judge Nelva Gonzales Ramos referred this case to the
undersigned United States Magistrate Judge for the purpose of conducting a guilty plea
proceeding pursuant to Rule 11 of the Federal Rules of Criminal Procedure. The
undersigned submits these Findings and Recommendation to the District Judge pursuant
to 28 U.S.C. § 636(b)(3). All parties have waived the right to plead before a United
States District Judge, and additionally, have consented to proceed before the undersigned.
       On January 17, 2014, the Defendant appeared with counsel before the undersigned
magistrate judge and was personally addressed in open court and admonished pursuant to
Rule 11 of the Federal Rules of Criminal Procedure as follows:
       1.     The Defendant was placed under oath and advised that any false answers
given during the plea proceeding could be used by the United States against the
Defendant in a prosecution for perjury or for making a false statement;

       2.      The Defendant was advised that Count One of the Third Superseding
Indictment charged a violation of Title 21, United States Code, Section 846 which makes
it unlawful for any person knowingly to conspire with another to possess with intent to
distribute more than 1,000 kilograms of marihuana, a Schedule I controlled substance.

        3.     The Defendant was advised of the Defendant’s right to a jury trial, the
right to the presumption of innocence, the right to require that the United States prove
each of the elements of the offense to a jury beyond a reasonable doubt, that is the United
States must prove beyond a reasonable doubt that (1) two or more persons, directly or
indirectly, reached an agreement to knowingly and intentionally possess with intent to
distribute a controlled substance; (2) the Defendant knew of the unlawful purpose of the
agreement; (3) the Defendant willfully joined in the agreement, that is voluntarily with


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the intent to further its unlawful purpose; and (4) the overall scope of the conspiracy
involved at least 1,000 kilograms of marihuana, a Schedule I Controlled substance. The
Defendant was further advised that the right to a jury trial included the right to see, hear
and cross-examine witnesses, the right to compel witnesses to appear in the Defendant’s
behalf, and the right to testify in the Defendant’s behalf or to remain silent;

        4.      The Defendant was advised that a plea of guilty would waive the right to a
jury trial, the right to see, hear and cross examine witnesses, the right to compel witnesses
to appear in the Defendant’s behalf, and the right to remain silent;

       5.      The Defendant was advised that the minimum and maximum possible
sentence included a minimum prison term of ten years and a maximum term of life in
prison without probation, parole, or suspended sentence; the Defendant was further
advised that a fine of up to $10,000,000 could also be imposed; the Defendant was
further advised that after the prison sentence was served the Defendant would be subject
to a minimum supervised release term of five years and a maximum period of supervised
release of life; if the Defendant violated supervised release, the Defendant could be
required to return to prison for up to five more years; the Defendant also was advised that
even if he received the maximum five year sentence for violation of supervised release, if
he had not completed his full term of supervised release, he could be re-released to
supervised release, and if revoked again he could receive up to a five year sentence again;
the Defendant was advised that this could happen multiple times until he had completed
serving his term of supervised release; the Defendant also was advised that a mandatory
$100 special assessment applied to this felony conviction.

       6.     The Defendant was advised of the District Court’s obligation to calculate
the applicable advisory sentencing guideline range and to consider that advisory range,
possible departures and variances under the Sentencing Guidelines, and other sentencing
factors under 18 U.S.C. § 3553(a); the Defendant further stated that he understood and
had discussed with his attorney how the guidelines might be calculated in his case and
applied to him;

        7.      The Defendant was advised that conviction of this offense would cause him
to lose certain rights he has as a citizen, such as the right to possess and own firearms, the
right to vote, the right to serve on a jury, and the right to hold public office, and the
Defendant stated that he understood and had discussed these matters with his attorney;
and

       8.     The Defendant was advised that his written plea agreement with the United
States included a promise that, in exchange for his plea of guilty to Count One, the
United States would recommend the maximum allowable credit for acceptance of
responsibility, a sentence within the applicable guideline range as decided by the District
Court, and maximum allowable time in a halfway house following incarceration; the


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United States further agreed to stipulate, for purposes of calculating relevant conduct, that
the amount of marihuana involved in the conspiracy was less than 30,000 kilograms, to
stipulate that the United States had no evidence that a firearms enhancement was
applicable, and if the PSI recommended an enhancement for obstruction of justice, the
United States would remain neutral; in addition, if the Defendant has provided or did
provide prior to sentencing, substantial assistance to the United States, the United States
may move for a downward departure pursuant to U.S.S.G. §5K1 and commensurate with
the value of the information provided; the Defendant was further advised that the
decision about whether to move for a downward departure was a decision solely in the
discretion of the attorney for the United States, and the decision whether to grant such a
motion rested solely with the sentencing judge; and

       The Defendant was further advised that the plea agreement contained a waiver of
his right to appeal and to file any petitions collaterally challenging his conviction; the
Defendant stated that he had discussed the appeal waiver with his attorney and he
understood that he was knowingly waiving his right to appeal the conviction and
sentencing decision of the District Court to a higher court unless the District Court sua
sponte departed upward from the applicable guideline range or imposed a sentence that
exceeded the maximum sentence, and that he was knowingly waiving his right to file a
petition collaterally challenging his conviction; the Defendant stated that he understood
he was also waiving his right to challenge an upward variance in his sentence.

       The Defendant stated that he had received a copy of the Third Superseding
Indictment and he understood the nature of the charge, the maximum possible penalty,
and the consequences of pleading guilty. The Defendant further stated that the plea of
guilty was made freely and voluntarily, and did not result from any force, threats or
coercion, and no one had promised the Defendant a certain sentence. The Defendant
stated that he understood that if he did not receive the sentence hoped for, he could not
withdraw his plea of guilty. The undersigned finds the Defendant to be sufficiently
competent to enter a plea of guilty.
       The Defendant pleaded guilty to the offense of conspiracy to possess with intent to
distribute more than 1,000 kilograms of marihuana as charged in Count One of the Third
Superseding Indictment. When questioned about the guilty plea, the Defendant admitted
that the factual basis for the plea, as set forth by the United States Attorney, specifically
the facts detailing the Defendant’s involvement in the conspiracy, were correct.




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       The undersigned United States Magistrate Judge finds that Defendant’s guilty plea
was freely and voluntarily tendered and did not result from force, threats, or promises and
that an adequate factual basis exists in relation to this plea.
                                  RECOMMENDATION
       It is respectfully recommended that the District Court adopt the foregoing
findings, accept the Defendant’s plea of guilty, and enter a finding that the Defendant is
guilty as charged in Count One of the Third Superseding Indictment.
       Respectfully submitted this 17th day of January, 2014.


                                                ___________________________________
                                                B. JANICE ELLINGTON
                                                UNITED STATES MAGISTRATE JUDGE


                                  NOTICE TO PARTIES

       The Clerk will file the Findings and Recommendation on Plea of Guilty and
transmit a copy to each party or counsel. Within FOURTEEN (14) DAYS after being
served with a copy of the Memorandum and Recommendation, a party may file with the
Clerk and serve on the United States Magistrate Judge and all parties, written objections,
pursuant to Fed. R. Crim. P. 59(b), 28 U.S.C. § 636(b)(1), and General Order No. 2002-
13, United States District Court for the Southern District of Texas.
       A party’s failure to file written objections to the proposed findings, conclusions,
and recommendation in a magistrate judge’s report and recommendation within
FOURTEEN (14) DAYS after being served with a copy shall bar that party, except upon
grounds of plain error, from attacking on appeal the unobjected-to proposed factual
findings and legal conclusions accepted by the district court. Douglass v. United Servs.
Auto Ass’n, 79 F.3d 1415 (5th Cir. 1996) (en banc).




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